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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                 :
In re:                                                           : Chapter 11
                                                                 :
NAVILLUS TILE, INC., DBA                                         : Case No. 17-13162 (SHL)
NAVILLUS CONTRACTING                                             :
                                                                 :
                            Debtor.                              :
                                                                 :
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               STIPULATION AND ORDER RESOLVING PROOFS OF
        CLAIM NO. 91, 92, 93, AND 94 FILED BY THE BRICKLAYERS CLAIMANTS

            Navillus Tile, Inc., d/b/a Navillus Contracting (“Navillus” or the “Debtor”) and the

 Bricklayers Annuity Fund, the Bricklayers International Pension Fund, the Bricklayers Pension

 Fund and the Bricklayers Insurance and Welfare Fund (collectively, the “Bricklayers

 Claimants”), by and through their undersigned counsel, hereby stipulate and agree as follows

 (this “Stipulation”):

                                                             RECITALS

            WHEREAS, on November 8, 2017 (the “Petition Date”), Navillus filed a voluntary

 petition for relief under the chapter 11 of title 11 of the United States Code (the “Bankruptcy

 Code”) in the United States Bankruptcy Court for the Southern District of New York (the

 “Bankruptcy Court”); and

            WHEREAS, on February 13, 2018 the Bricklayers Claimants filed proofs of claim

 numbers 91, 92, 93, and 94 (each, a “Claim” and collectively, the “Claims”) against Navillus in

 the aggregate amount of seven hundred fourteen thousand ($714,000) dollars, each asserting entitlement

 to priority claims for contributions to an employee benefit plan pursuant to section 507(a)(5) of

 the Bankruptcy Code; and


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           WHEREAS, on March 13, 2018, Navillus filed its Third Omnibus Objection Seeking to

Disallow and Expunge Claims [Dkt. No. 280] pursuant to which it objected to the Claims on the

grounds of “incorrect classification”; and

           WHEREAS, by stipulation so-ordered by the Bankruptcy Court, the Bricklayers

Claimants consented to the reclassification of the Claims as general unsecured claims in their

entirety [Dkt. No. 323]; and

           WHEREAS, on May 29, 2018, Navillus filed the Debtor’s Sixth Omnibus Objection

Seeking to Disallow and Expunge Claims (the “Objection” at Dkt. No. 423) seeking to disallow

and expunge the Claims on the grounds that Navillus had no liability for the Claims; and

           WHEREAS, on June 15, 2018, the Bricklayers Claimants filed the Opposition to Notice

of Debtor’s Sixth Omnibus Objection Seeking to Disallow and Expunge Claims (the “Response”

at Dkt. No. 476) asserting that the Claims constituted prima facie claims and that Navillus had

not produced any evidence sufficient to overcome the Claims’ prima facie validity; and

           WHEREAS, on June 22, 2018, Navillus filed a reply to the Response and in further

support of the Objection (the “Reply” at Dkt. No. 499); and

           WHEREAS, preliminary hearing was held on the Objection, the Response and the Reply

on June 26, 2018, at which time the Bankruptcy Court did not issue a ruling on the Objection;

and

           WHEREAS, on August 21, 2018, Navillus filed its Consensual Amended Chapter 11

Plan of Reorganization of Navillus Tile, Inc., d/b/a Navillus Contracting Under Chapter 11 of

the Bankruptcy Code (as it may be further amended, modified, and supplemented, the “Plan” at

Dkt. No. No. 596)1; and


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    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Plan.



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        WHEREAS, Navillus and the Bricklayers Claimants (collectively, the “Parties”)

thereafter engaged in certain discussions regarding the Claims, the Objection, the Response and

the Reply and, as a result of those discussions, have agreed that the Claims shall be resolved as

set forth herein:

        NOW, THEREFORE, the Parties hereby stipulate and agree, subject to the Bankruptcy

Court’s approval, as follows:

        1.      The Claims shall be Allowed as General Unsecured Claims against Navillus in the

amounts set forth on the face of each respective Claim, and in the aggregate amount of seven

hundred fourteen thousand ($714,000) dollars.

        2.      Each Claim shall be treated in all respects as an Allowed Class 5 General

Unsecured Claim under the Plan, payable pursuant to the terms applicable to Class 5 General

Unsecured Trade Claims under the Plan.           The distributions received by the Bricklayers

Claimants shall also be deemed to be in full and final satisfaction of any and all amounts due and

owing pursuant to the payroll audit conducted by the Bricklayers Claimants for the period from

October 1, 2016 through and including March 31, 2018 in the principal amount of $941.87.

        3.      Navillus hereby withdraws the Objection.

        4.      The Bricklayers Claimants agree to vote the Claims in favor of the Plan.

        5.      The Bricklayers Claimants hereby waive any and all other potential claims that

accrued prior to the date of this Stipulation against Navillus, including without limitation any

claims that accrued prior to the date of this Stipulation that may be characterized as cure costs in

connection with any assumption of the Local No. 1 New York of the International Union of

Bricklayers and Allied Craft Workers collective bargaining agreement.




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          6.    This Stipulation is subject to the approval of the Bankruptcy Court and shall be of

no force and effect unless and until approved by the Bankruptcy Court.

          7.    Each person who executes this Stipulation represents that he or she is duly

authorized to execute this Stipulation on behalf of the respective parties hereto and that each

such party has full knowledge and has consented to this Stipulation.

          8.    This Stipulation constitutes the complete and exclusive agreement of the Parties

with respect to the subject matter hereof and supersedes all prior and contemporaneous

agreements and understandings, oral or written, between the Parties with respect to such subject

matter.

          9.    Subject to an order of the Bankruptcy Court approving this Stipulation, this

Stipulation shall be binding upon and inure to the benefit of the Parties, and their respective

administrators, representatives, successors and assigns.

          10.   This Stipulation shall be governed by and construed in accordance with the

substantive law of the state of New York, and shall have the force and effect of an instrument

executed and delivered under seal under the law of the state of New York.

          11.   This Stipulation may be executed in counterparts, each of which shall be deemed

to be an original, and all such counterparts together shall constitute one and the same instrument.

This Stipulation may be executed by facsimile or electronic signature.




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       12.     The Bankruptcy Court shall retain jurisdiction to resolve any dispute arising under

or in connection with this Stipulation.

STIPULATED AND AGREED:

CULLEN AND DYKMAN LLP                                  Bricklayers Annuity Fund, the
Counsel to Navillus Tile, Inc., d/b/a Navillus         Bricklayers International Pension Fund, the
Contracting                                            Bricklayers Pension Fund and the Bricklayers
                                                       Insurance and Welfare Fund


                                                       By:_/s/ Jeremiah P. Sullivan_________
By: _/s/ Elizabeth M. Aboulafia______                  Jeremiah P. Sullivan
C. Nathan Dee, Esq.                                    66-05 Woodhaven Blvd.
Elizabeth M. Aboulafia, Esq.                           Rego Park, New York 11374
100 Quentin Roosevelt Boulevard
Garden City, New York 11530
(516) 357-3700                                         Dated: September 26, 2018

Dated: September 27, 2018



SO ORDERED:

Dated: October 10, 2018
       New York, New York


/s/ Sean H. Lane
THE HONORABLE SEAN H. LANE
UNITED STATES BANKRUPTCY JUDGE




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